         Case 2:16-cr-00046-GMN-PAL Document 3179 Filed 02/07/18 Page 1 of 4



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 7   Representing the United States
 8
                    UNITED STATES DISTRICT COURT
 9                       DISTRICT OF NEVADA
10   UNITED STATES OF AMERICA,
11                Plaintiff,                    2:16-CR-00046-GMN-PAL
12
           v.                                   GOVERNMENT’S MOTION TO
                                                DISMISS SUPERSEDING
13
     DAVE H. BUNDY,                             INDICTMENT WITH PREJUDICE
14   MEL D. BUNDY,
     JOSEPH D. O’SHAUGHNESSY, and
15   JASON D. WOODS,

16                Defendants.

17
     CERTIFICATION: This Motion is timely filed.
18
           The United States, by and through the undersigned, respectfully seeks leave
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     under Fed. R. Crim. P. 48(a) to dismiss with prejudice all counts in the Superseding
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     Indictment as to each of the above-named defendants.
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           The Superseding Indictment in this case was returned on March 2, 2016,
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     against nineteen defendants. The defendants were subsequently severed into three
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             Case 2:16-cr-00046-GMN-PAL Document 3179 Filed 02/07/18 Page 2 of 4



 1   groups for separate trials, the defendants named herein comprising the third group,

 2   their trial being set to commence on February 26, 2018.

 3            During the trial of the second group, and on January 8, 2018, the Court

 4   declared a mistrial and entered an Order dismissing the Superseding Indictment
 5   against the second group of defendants with prejudice. The government has since
 6
     filed a Motion in that case, asking the Court to reconsider its dismissal Order for
 7
     the reasons set forth in the Motion.
 8
              In light of the Court’s dismissal Order and the pendency of the government’s
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     Motion for Reconsideration, the government believes that, under these
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     circumstances and in the interests of justice, it is appropriate to move to dismiss
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     the Superseding Indictment against the third group of defendants named herein
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     with prejudice.
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         Case 2:16-cr-00046-GMN-PAL Document 3179 Filed 02/07/18 Page 3 of 4



 1         WHEREFORE, for all the foregoing reasons, the government respectfully

 2   requests that the Court grant the government’s Motion to Dismiss and enter an

 3   Order dismissing all counts in the Superseding Indictment with prejudice as to

 4   defendants Dave Bundy, Mel Bundy, Joseph O’Shaughnessy, and Jason D. Woods
 5   and vacating the current trial setting of February 26, 2018.
 6
           DATED this 7th day of February, 2018.
 7

 8                                          Respectfully,

 9                                          DAYLE ELIESON
                                            United States Attorney
10
                                             /s/ Daniel R. Schiess
11                                          ______________________________
                                            STEVEN W. MYHRE
12                                          DANIEL R. SCHIESS
                                            NADIA J. AHMED
13                                          Assistant United States Attorneys

14                                          Attorneys for the United States

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16
          IT IS SO ORDERED.
17
          DATED this ____
                      7 day of February, 2018.
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19
          ______________________________
20        Gloria M. Navarro, Chief Judge
          United States District Court
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         Case 2:16-cr-00046-GMN-PAL Document 3179 Filed 02/07/18 Page 4 of 4



 1                             CERTIFICATE OF SERVICE

 2         I certify that I am an employee of the United States Attorney’s Office. A copy

 3   of the foregoing MOTION TO DISMISS INDICTMENT WITH PREJUDICE was

 4   served upon counsel of record, via Electronic Case Filing (ECF).
 5         DATED this 7th day of February, 2018.
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 7
                                            /s/Daniel R. Schiess
 8                                          ______________________________
                                            DANIEL R. SCHIESS
 9                                          Assistant United States Attorney

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